Case 2:02-cV-02729-BBD Document 80 Filed 08/15/05 Page 10f3 Page|D_lZ€

FII.ED BY ,__._~_____ D.C.

IN THE UNITED STATES DISTRICT COURT 05 AUG l 5 pH 3: 23
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION mg M_ G(H_D
CLEHK, U.S, t`.~‘S`TRlCT COURT
W/U Gl` lF-`, ?:T'ri'-..lf'"HlS
BRENDA J. BRADBERRY and )
EDWIN C. BRADBERRY, )
)
Plaintiffs, )
)
vs. ) No. 02-cv-2729-D/V
) JURY DEMAND
JOHN HANCOCK MUTUAL LIFE ) (TWELVE PERSON)
INSURANCE COMPANY, ) Judge Bernice B. Donald
)
Defendant. )

AGREED ORDER OF DISMISSAL

 

The Court is advised by counsel for the parties, as evidenced by their signatures below,
that the parties to this civil action have reached an agreed compromise and settlement of all
issues in dispute among them and that this civil action should be dismissed With prejudice The
Court is further advised that each party has agreed to bear its own costs; however, if any costs
are independently assessed by the Court, the parties have agreed that one-half of the total costs
Will be paid by the plaintiffs and one-half Will be paid by the defendant

lt is, accordingly, ORDERED, ADJUDGED and DECREED this civil action is

dismissed With prejudice

-IJ'\
ENTERED this /3 day on{UHL, 2005.

 

 

United States District Judge

This document entered on the docket sheet |n compliance `
with Flule 58 and/or 79(a) FHCP on f Z§'g 135 y(j

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Approved for Entry:

L/z/,¢/ /
G.,<z;jme # 1428
ames J. ebb, Jr. #l 826
Crone & Mason, P.L.C.
5100 Poplar Avenue, Suite 3200

Memphis, TN 38137
(901) 683-1850

Attorneysfor Plaz`ntszs Brenda .]. Bradberrjy and
Edwz`n C. Bradberry

/€/W_Li/i%¢,/A/@/%/

Robert B Littleton #2816
Jeffrey Zager, #11?43
MILLER & MARTIN PLLC
1200 One Nashville Place
150 Fourth Avenue, N.
Nashville, TN 37219

(615) 244-9270

 

Shaunda Patterson-Strachan
Jorden Burt LLP

1025 Thomas Jefferson Street, NW
Suite 400 East

Washingmn, DC 20007-5203
(202) 965-8100

Attorneys for Defendant

John Hancock Life Insurance Company
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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 80 in
case 2:02-CV-02729 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

Shaunda Patterson-Strachan
JORDEN BURT LLP

1025 Thomas .1 efferson St.7 NW
Ste. 400 East

Washington, DC 20007

Alan G. Crone

CRONE & MASON, PLC
5100 Poplar Ave.

Ste. 3200

1\/1emphis7 TN 38137

Robert B. Littleton
1\/HLLER & MARTIN, LLP
150 Fourth Ave. N.

1200 One Nashville Place
Nashville, TN 37219--243

.1 ames J. Webb

CRONE & MASON, PLC
5100 Poplar Ave.

Ste. 3200

1\/1emphis7 TN 38137

Waldemar J. Pflepsen

JORDEN BURT LLP

1025 Thomas Jefferson St., N.W.
Ste. 400 East

Washington, DC 20007

.1 effrey Zager

1\/HLLER & MARTIN, LLP
150 Fourth Ave. N.

1200 One Nashville Place
Nashville, TN 37219--243

Honorable Bernice Donald
US DISTRICT COURT

